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13                                  IN THE UNITED STATES DISTRICT COURT

14                               FOR THE NORTHERN DISTRICT OF CALIFORNIA

15                                            SAN FRANCISCO DIVISION

16                                                              Case No. 3:19-cv-02573-EMC (Master Docket)
     IN RE HIV ANTITRUST LITIGATION
17                                                              [PROPOSED] ORDER GRANTING END-
                                                                PAYOR PLAINTIFFS’ PLAN FOR NOTICE
18   This Document Relates To:                                  OF CLASS CERTIFICATION AND TO
                                                                APPOINT NOTICE ADMINISTRATOR
19   Staley et al. v. Gilead Sciences, Inc. et al., No. 3:19-
     cv-02573-EMC                                               Ctrm: 5-17th Floor
20                                                              Judge: Honorable Edward M. Chen

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               [PROPOSED] ORDER GRANTING END-PAYOR PLAINTIFFS’ PLAN FOR NOTICE OF CLASS
              CERTIFICATION AND TO APPOINT NOTICE ADMINISTRATOR / CASE NO. 3:19-CV-02573-EMC
            Case 3:19-cv-02573-EMC Document 1550 Filed 12/05/22 Page 2 of 3



 1          The Court, having considered End-Payor Plaintiffs’ Motion to Approve Plan for Notice of Class

 2   Certification and to Appoint Notice Administrator for Class Certification (ECF 1440) and all supporting

 3   papers, and good cause appearing, hereby ORDERS that:

 4          1.     Plaintiffs’ Proposed Order on Class Certification

 5                 The Court issued an Order on November 14, 2022 (ECF 1470) that, among other issues,
                   held the Third-Party Payor Plaintiffs (“TPP Plaintiffs”) should have been included as
 6                 named representatives of the cART Injunctive Classes in the Court’s September 27, 2022
                   Order (ECF 1388). Therefore, the Court hereby appoints the named TPP Plaintiffs as
 7                 representatives of the cART Injunctive Classes. 1
 8          2.     Appointment of the Class Notice Administrator

 9                 The Court finds that A.B. Data will adequately oversee the Notice Plan and administer
                   class notice to potential End-Payor Class Members. The Court finds none of class counsel
10                 have any financial or other ties with A.B. Data. The Court hereby appoints A.B. Data as
                   the Notice Administrator.
11
            3.     Notice to End-Payor Class Members
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                   (a)     The Court approves the form and content of: (a) the Short-Form Notice attached as
13                         Exhibit 1; (b) the Long-Form Notice attached as Exhibit 2; (c) the TPP Postcard
                           attached as Exhibit 3; (d) the Government Cover Letter attached as Exhibit 4; (e)
14                         the Government Postcard attached as Exhibit 5; and (f) the banner ads attached
                           hereto as Exhibit 6.
15
                   (b)     The Court finds that the publication of banner ads on digital media containing
16                         embedded links to the case-specific website with the Long-Form Notice available
                           for download in the manner set forth by End-Payor Plaintiffs (“EPPs”) in their
17                         Memorandum constitutes the best notice that is practicable under the
                           circumstances and complies fully with the requirements of Fed. R. Civ. P.
18                         23(c)(2)(B) and Due Process.

19                 (c)     The Court finds that the mailing of the Government Postcard, which is
                           substantially similar to the Short-Form Notice sent to the other Third-Party Payors,
20                         to the local government entities and the Government Cover Letter to the State
                           Attorney General Offices and publication of ads on targeted websites in the
21                         manner set forth by EPPs in their Memorandum constitutes the best notice that is
                           practicable under the circumstances and complies fully with the requirements of
22                         Fed. R. Civ. P. 23(c)(2)(B) and Due Process.

23                 (d)     On or before January 6, 2023, the TPP Postcard Notice shall by mailed by first
                           class mail, postage prepaid, to all potential third-party payors included in A.B.
24                         Data’s database. In addition, a copy of the Long-Form Notice shall be posted on
                           the Internet at www.HIVDrugLitigation.com, the website dedicated to this
25                         litigation.

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      TPP Plaintiffs refers to Fraternal Order of Police, Miami Lodge 20, Insurance Trust Fund; Service
27   Employees International Union, Local No. 1 Health Fund; Teamsters Local 237 Welfare Fund,
     Teamsters Local 237 Retirees’ Benefit Fund; and Pipe Trades Services MN Welfare Fund.
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           [PROPOSED] ORDER GRANTING END-PAYOR PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                    AND APPOINTMENT OF CLASS COUNSEL / CASE NO. 3:19-CV-02573-EMC
          Case 3:19-cv-02573-EMC Document 1550 Filed 12/05/22 Page 3 of 3



 1              (e)   On or before January 6, 2023, the Government Postcard shall be mailed by first
                      class mail, postage prepaid, to the local government entity offices and the
 2                    Government Cover Letter to the Attorney General Offices of the Specified States
                      identified in the Notice Memorandum.
 3
                (f)   On or before January 6, 2023, Co-Lead EPP Class Counsel shall cause the digital
 4                    and social media notice directed at Consumer Class Members to be published in
                      the manner set forth by the Proposed Notice Plan for a period of 45 days.
 5                    Additionally, a Press Release via PR Newswire will be distributed.

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 8        IT IS SO ORDERED.

 9
10            December 5, 2022
     Dated: ___________________
                                                             Honorable Edward M. Chen
11                                                           United States District Judge
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         [PROPOSED] ORDER GRANTING END-PAYOR PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                  AND APPOINTMENT OF CLASS COUNSEL / CASE NO. 3:19-CV-02573-EMC
